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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,

12                  Respondent,                           2:99-cr-0051-GEB-EFB-P

13          vs.

14   JAVIER MORA,

15                  Movant.                               ORDER

16                                          /

17                  Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

18   aside or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

19   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

20                  On June 11, 2009, the magistrate judge filed findings and recommendations

21   herein which were served on movant and which contained notice to movant that any objections to

22   the findings and recommendations were to be filed within twenty days. Movant has not filed

23   objections to the findings and recommendations.1

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               Although it appears from the file that movant’s copy of the findings and recommendations
     was returned, movant was properly served. It is the movant’s responsibility to keep the court
26   apprised of his current address at all times. Pursuant to Local Rule 83-182(f), service of documents

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 1                   The court has reviewed the file and finds the findings and recommendations to be

 2   supported by the record and by the analysis. Accordingly, IT IS HEREBY ORDERED that:

 3                   1. The findings and recommendations filed June 11, 2009, are adopted in full;

 4                   2. This action is dismissed for movant’s failure to prosecute. See Fed. R. Civ. P.

 5   41(b); Rule 12, Rules Governing § 2255 Cases; Local Rule 11-110;

 6                   3. The Clerk is directed to terminate docket numbers 332, 333 and 337; and

 7                   4. The Clerk is directed to close the companion civil case, No. CIV S-05-1752

 8   GEB EFB P.

 9   Dated: September 23, 2009
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11                                               GARLAND E. BURRELL, JR.
                                                 United States District Judge
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26   at the record address of the party is fully effective.

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